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                                UNITED STATES DISTRICT COURT                                  F f '~--ED
                                  DISTRICT OF CONNECTICUT
                                                                                          l01~NOV2W P 1=5'1


  PETITION PURSUANT TO 28 U.S.C. § 2255 TO VACA ~~ .                                              E- T ~~~'
                             OR                   .                                                      ~~
        CORRECT SENTENCE BY A PERSON IN FEDERAL CUSTODY




 Vi nr.P Hrl nr.or.k         ' Petitioner,                                      CaseNo. J~ I</0V/15/              VLB
Full Name and Prisoner Number                                                     (To be supplied by the Court)
 Federal Register # 20816-014
Complete Prison Address (Place of Confinement)

 Federal Correctional Institution - Danbury
 33 1/2 Pembroke Road
 Danbury, CT 06611-3099



         v.


                             , --'R.,_,e--..s~p,.....a""""n.....du:eo.un..,_t_ _ __ _ _
United States of Arne rica.-+-



                                        CONVICTION UNDER ATTACK

(If petitioner is attacking a sentence based on a federal conviction to be served in the
future, the petition should be filed in the federal court which entered the judgment.)

1) Name and location of the court which entered the judgment of conviction under
attack: united States District Court for the District of Coonecti cut



2) Date judgment of conviction was entered                          September 6, 2012

3) Case number              3 : 12-cr-00015-VLB-1

4) Length and term of sentence 151 months, 36 months Supervised Release
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5) Are you presently serving a sentence imposed for a conviction other than the
conviction under attack in this motion? Yes   No x_

6) Name of judge who imposed sentence under attack in this petition Vanessa L. Bryant


7) Nature of the offense involved (all counts) counts- 1 . 2. 3, 4, 5, 6, and     a    are

drug charges;          Counts 7 and 9 are Firearm charges;               Counts 10 and 11

are Forfeiture Counts



8) What was your plea? (check one)
     Not guilty_ Guilty _x_ Nolo Contendere _

9) If you entered a guilty plea to one count or indictment, and a not guilty plea to
another court or indictment, give details:

Plea A.gree ment was guilty to Co unt 4 only.                 The A.qreement is on f i le.

Ihe remaining charges were dismis sed at sentencing.

10)    If you entered a plea of guilty pursuant to a plea bargain, state the terms and
conditions of the agreement Guilt}! only to count 4 of the Indictment. The

remaining drug and Firearm charges were dismissed at sentencing.

11)      Kind of trial (check one)   Jury_ Judge only _          Not A.pplicable

12)      Did you testify at trial? Yes     No       Not A.pplicable



                                         DIRECT APPEAL

13)      Did you appeal from the judgment of conviction?        Yes~    No

14)      If you did appeal, answer the following questions:
         (a) Give the name and location of the court where the appeal was filed, the
         result, the case number and date of the court's decision (or attach a copy of the
         court's opinion or order): un; ted states court of Appeals for the

Second Circuit, seated in New York.                  Case Number 12-3638.

Decided A.uguEt 23, 2013.


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         (b) State the issues raised: Resentence to reasonable and lesser term.

15) If you did not appeal, explain briefly why you did not: _ _ _ _ __ _ _ __

....Not A.pp-1 ; ,cable




                                  POST-CONVICTION PROCEEDINGS

16)    Other than a direct appeal from the judgment of conviction and sentence, have
you previously filed any petitions, applications, or motions with respect to this judgment
in any federal court?       Yes      No£

17)      If your answer to 16 was "Yes," give the following information:

         a)     FIRST petition, application or motion.

                1.        Nameofcourt __~N~o~t~~~£~P~l~i~c~a~b~l~e~---------------------

               2.         Nature of proceeding __N_o_t __~-=-p-=-p_l_i_c_a_b_l_e_________________



               3.         Claims raised                      Not        ~pplicable




               4.     Did you receive an evidentiary hearing on your petition, application
               or motion? Yes __ No _     Not ~pplicable

               5.         Result ______________:::N.:_:o:..:t::........:.~=P;:..&;P:..:l:..:i:....:c:..:a=b:..:l:....:e:.....____________________

               6.         Date of result ___. .N=
                                               :. oc--=t:_______:_:~=P'--"'P=l=i'-=c=a=b=l'-=e=-----------------


               7.      Did you appeal the result to the federal appellate court having
               jurisdiction? Yes_ NoNJA If you did appeal, give the name of the court
               where the appeal was filed, the result, the case number, citation and date
               of the court's decision (or attach a copy of the court's opinion or order)

                                                             Not        ~ pp licable




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                   8.     If you did not appeal, briefly explain why you did not

                                                              Not A.pplicable




          b) As to any SECOND petition, application or motion, give the following
          information:

                   1.     Nameofcourt __~N~o~t~A.~p~p~l=i=c~a=b=l=e~--------------------

                   2.     Nature of proceeding ------=N=o=t__,_,A.=p=p=l=i=c=a=b=l=e_____________



                   3.     Claims raised _ ____...:Nc:..:o:::...;t::........:A..:..~P:::...~P:::.:
                                                                              .                l::..:l::..:.c"'-.::a~b:::..:l::..:e=----~~---------------




                   4.     Did you receive an evidentiary hearing on your petition, application
                   or motion? Yes      No               Not A.pplicable

                   5.     Result ________-=N=o~t~A.~p~p~l~i=c=a~b~l=e_____________________

                   6.     Date of result _ _N!=:.,o=t-=A..!:::.ppt:::..=-l""-ic,_ab~=-1e,_____________________

                   7.      Did you appeal the result to the federal appellate court having
                   jurisdiction? Yes __ No J:li A. If you did appeal, give the name of the court
                   where the appeal was filed, the result, the case number, citation and date
                   of the court's decision (or attach a copy of the court's opinion or order)_

                                                              Not 1\pp l i cahl e




                   8.     If you did not appeal, briefly explain why you did not ________

                                                              Not A.pplicable

         c) As to any THIRD petition, application or motion, give the following
         information:

                   1.     Nameofcourt __~N~o~t~A.~p~p=l=i~c=a=b=l~e~--------------------

                   2.     Nature of proceeding -------=N~o:....:t=----:A=
                                                                        . p:;..J.p::....:l::...:i::...:c::....:a'---b_l_e_____________


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                   3.     Claims raised      Not. 1\pplicabl e
                                          --------~-----------------------------




                   4.     Did you receive an evidentiary hearing on your petition, application
                   or motion? Yes      No               Not Applicable

                   5.     Result             Not Applicable
                                   --------------~-----------------------------


                   6.     Date of result --------~~----------------------------
                                             Not Applicable

                   7.      Did you appeal the result to the federal appellate court having
                   jurisdiction? Yes __ No NLAif you did appeal, give the name of the court
                   where the appeal was filed, the result, the case number, citation and date
                   of the court's decision (or attach a copy of the court's opinion or order)_

                                             Not Applicable




                   8.     If you did not appeal, briefly explain why you did not ___________

                                             Not Applicable




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__________________________CLAIMS
18) State concisely every claim that you are being held unlawfully. Summarize briefly
                                           '
the facts supporting each claim. If necessary,    you may attach extra pages stating
additional claims and supporting facts. You should raise in this petition all claims for
relief which rel.ate to the conviction under attack.


          Claim One:     The Petitioner is claiming the Ineffective Assistance

of Trial Counsel for           th~ ! attached         reasons.     See also Brief Attached.



         (1) Supporting Facts: (Without citing legal authorities or argument state briefly
         the facts in support of this claim)

                                           See       ~ttached    and Brief.




         Claim Two: Changes in the case law o f the United States Supreme

Court while the Dire-ct           ~ppeal    wa·s pending and s ince the         Appeal wa s

decided which impact _the proceedings of the Petitioner.

         (1) Supporting Facts: (Without citing legal authorities or argument state briefly
         the facts in support of this claim)

                                           See       httached and Brief.




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                     Hancock Issues Attachment


1)A)Counsel failed to file any pre-trial Motions including:
     Violation of 18 USC§ 3161(b) (Speedy Trial Act) and the Fifth
     Amendment;   Government did not charge 21 USC § 851 in Indictment
     and a plain reading of the statute shows that the Petitioner's
     sentence was improperly enhanced;      the Petitioner was also impro-
     perly enhanced for a Firearm in accordance with the specific
     United States Sentencing Guidelines      ~plication   Note which cautions
     against the enhancement for the case before the Court.


B)   Failing to argue that the State of Connecticut forum shopped this
     case to the United States Government against the principles espoused
     by the United States Supreme Court on Forum Shopping.


2)   Cases of Alleyne, Descamps, and Bond have been decided since the
     Petitioner's sentencing.
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         Claim Three: _ _ __ _ _--'..!N~o~t----=..!A~P.c::P~l~i~c~a~b:.::
                                                                      l~  e'---_ _ _ _ _ _ __ __




         (1) Supporting Facts: (Without citing legal authorities or argument state briefly
         the facts in support of this claim)

                                            Not Applicable




19) If any of the claims listed in 16 were not previously presented, state briefly what
claims were not so presented, and give your reasons for not presenting them: _ _ __

None of the claims presented were previously adjudicated as for the

Ineffective        ~ssi   stance of Counsel            for fai 1 i ng to argue those he could.

20) Do you have any petition, application, motion or appeal now pending in any court,
either state or federal, regarding the conviction under attack?
       Yes_ No x._. If "Yes," state the name of the court, case file number (if known),
and the nature of the proceeding: _ _ _ _ _ _ __ __ _ __ _ _ _ _ _ __

                                            !Vat   Applica b le




                                   SUCCESSIVE PETITIONS

21) If you have filed a prior petition and are raising in this petition a claim which you did
not present in a prior petition or motion, have you obtained an order from the United
States Court of Appeals for the Second Circuit authorizing this district court to consider
the petition. Yes_ No_. Please attach a copy of the order. Not Applicable



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                                        LEGAL REPRESENTATION

22) Give the name and address, if known, of each attorney who represented you in the
following stages of the judgment attacked herein:

          (a) At preliminary hearing Gary D. Weinberger                           Federal Public Defender's

 Office,        HartfOrd, Cbnnecticni·

          (b) At arraignment and plea - ---=
                                           s =a=
                                               m=e _ _ __ _ _ _ __ _ _ __ _ __




          (c) At trial --------~N~o~t:::.......!..A.~p::.t;p::.=l~i:..:::c::.!::a~b~l:..:::e::...___ __ _ _ __ __ _



         (d) At sentencing -----~s=am=e_ _ _ _ _ _ __ _ _ __ _ _ __




         (e) On appeal          Georgia J Hinde_, Esq                   228 Park A.venue Sou t h

Suite 33276             New York, New York                    10003 ~


         (f) In any post-conviction proceeding _ ____._.
                                                      N"""
                                                         o_..
                                                           t__._.
                                                               A~p-ll"
                                                                    p""'
                                                                       l """'
                                                                          i """  ab
                                                                              c ....~l--e_ _ _ _ _ __




         (g) On appeal from any adverse ruling in a post-conviction proceeding _ _ __

                                                     Not Applicable




                                           OTHER CONVICTIONS

23) Were you sentenced on more than one count of an indictment or on more than one
indictment, in the same court and at the same time? Yes_ No -X-

24) Do you have any future sentence to serve after you complete the sentence
imposed by the judgment under attack? Yes_ No __x

         (a) If so, give name and location of court which imposed sentence to be served
         in the future                    Not A.pplicable




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         (b) and give date and length of service to be served in the future _ __ __

                                         Not     ~p pJ_icable


         (c) Have you filed, or do you contemplate filing, any petition attacking the .•
         judgment which imposed the sentence to be served in the future? Yes_ No_
                                        Not 1\pplicable
Wherefore, petitioner prays that the Court grant nim such relief to which he may be
entitled in this proceeding. I am also asking for the appointment of competent
 legal counsel to assist in the prosecut i n of t                              in my case.

 Nat Applicable
                                                   v
Signature of Attorney (if any)                    Petitioner's Original Signature

                                                   20816-014
                                                  Petitioner's Inmate Number


 Not 1\pplicable
Attorney's Full Address and
Telephone Number




                    DECLARATION UNDER PENALTY OF PERJURY

        The undersigned declares under penalty of perjury that he/she is the petitioner in
this action, that he/she has read this petition and that the information contained in the
petition is true and correct. 28 U.S.C. § 1746; 18 U.S.C. § 1621.


         Executed at FCI-Danbury
                     (Location)
                                       O]ter ~Z
                                                  Perr  o;s
                                                     1 1oner       ~
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